      Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 1 of 36



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

VARSHAD DESAI AND                          §
AMRISH PATEL                               §
    Plaintiffs,                            §
                                           §
vs.                                        §         CIVIL ACTION NO._________
                                           §         JURY REQUESTED
STATE FARM LLOYDS                          §
     Defendant.                            §

                         DEFENDANT’S NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

       Defendant STATE FARM LLOYDS (hereinafter, “State Farm”) files this Notice of

Removal of the present action from the Civil Court at Law No. 4 in Houston, Harris County,

Texas to the United States District Court for the Southern District of Texas, Houston Division.

In connection with this Notice of Removal, State Farm would respectfully show unto the Court

as follows:

                                 PROCEDURAL BACKGROUND

       1.     Plaintiffs Varshad Desai and Amrish Patel first filed this action on June 23, 2015

against “State Farm Lloyds, Inc.” in the Civil Court at Law No. 4 in Houston, Harris County,

Texas. That case was docketed under Cause Number 1064068 (the “State Court Action”).

       2.     On July 29, 2015, Plaintiffs filed their First Amended Petition, adding “State

Farm Lloyds” to suit. Thereafter, on August 4, 2015, Plaintiffs filed their Second Amended

Petition, removing “State Farm Lloyds, Inc.” from suit. “State Farm Lloyds” is now the only

named defendant in this case.

       3.     Thereafter, on August 7 2015, State Farm filed its Answer to Plaintiffs’ Second

Amended Petition.

                                               -1-
      Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 2 of 36



       4.      State Farm files this Notice of Removal pursuant to 28 U.S.C. §1446 to remove

the State Court Action from the Civil Court at Law No. 4 in Houston, Harris County, Texas to

the United States District Court for the Southern District of Texas, Houston Division.

       5.      Plaintiffs’ Second Amended Petition filed in the State Court Action included a

jury demand.

                                     NATURE OF THE SUIT

       6.      This lawsuit involves a dispute over the non-payment of insurance benefits and

the handling of Plaintiffs’ commercial property/business claim for damages allegedly caused by

a storm “[o]n or about May 25, 2015 and May 26, 2015.” See Second Amended Petition at ¶¶ 5-

8. Plaintiffs assert a claim for breach of contract. Id. at ¶¶ 9-10.

       7.      Plaintiffs reported their claim on or about May 28, 2015. State Farm timely

acknowledged the claim and inspected the insured property. State Farm ultimately concluded

that the damages were caused by flood/surface water (consistent with Plaintiffs’ initial report of

loss), which is not a covered cause of loss under the applicable policy. State Farm thereafter

issued a letter to Plaintiffs denying the claim on that basis.

                                     BASIS FOR REMOVAL

       9.      The Court has jurisdiction over this action under 28 U.S.C. § 1332 because there

is and was complete diversity between all real parties in interest and the amount in controversy

exceeds $75,000, exclusive of interests and costs.

       10.     The citizenship of an unincorporated association is determined by the citizenship

of each member of the entity, not by the state where the entity is organized. See Harvey v. Grey

Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir.2008); see also, e.g., See Royal Ins. Co. v.

Quinn-L Capital Corp., 3 F.3d 877, 882-83 (5th Cir. 1993) (citizenship of unincorporated


                                                 -2-
      Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 3 of 36



association determined by citizenship of members); Griggs v. State Farm Lloyds, 181 F.3d 694,

698 (5th Cir. 1999) (finding that State Farm Lloyds is a citizen of Illinois); Alonzo v. State Farm

Lloyds, No. SA-06-SA-0326-XR, 2006 WL 1677767, at *1 (W.D. Tex. June 12, 2006) (State

Farm Lloyds held to be diverse from Texas plaintiffs); Caballero v. State Farm Lloyds, No. CA-

C-03-266, 2003 WL 23109217, at *1 (S.D. Tex. Oct. 31, 2003) (same); Rappaport v. State Farm

Lloyds, No. 3:97-CV-2747, 1998 WL 249211, at *2 (N.D. Tex. May 8, 1998) (same).

         11.   State Farm Lloyds is an association of individual underwriters authorized

to conduct business in Texas as a Lloyd’s plan insurer as defined and set out in Chapter 941 of

the Texas Insurance Code. At the time this action commenced, State Farm was, and still is, an

unincorporated insurance association whose underwriters were, and still are, citizens of states

other than Texas. Accordingly, State Farm is not a citizen of the State of Texas. See Verification

below.

         12.   Plaintiffs’ Second Amended Petition expressly alleges damages in excess of

$100,000 satisfying the “amount in controversy” requirement of 28 U.S.C. § 1332(a). See

Second Amended Petition at ¶ 1.

         13.   Plaintiffs filed this action in Harris County, Texas. The Houston Division of the

Southern District of Texas encompasses Harris County, Texas. See 28 U.S.C. § 124(b)(2). Thus,

venue is proper because this district and division embrace the place where the state court action

is pending. See 28 U.S.C. § 1441(a).

         14.   All information and documents required by 28 U.S.C. § 1446(a) and by Local

Rule 81 to be filed with this Notice of Removal are attached and indexed in Exhibit A.

         15.   A copy of this Notice of Removal will be filed with the Harris County District

Clerk’s office and served on the Plaintiffs promptly. See 28 U.S.C. § 1446(d).


                                               -3-
      Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 4 of 36



                                            PRAYER

       State Farm respectfully requests that the above-styled action now pending in the Civil

Court at Law No. 4 in Houston, Harris County, Texas be removed to this Honorable Court

pursuant to the Court’s diversity jurisdiction. State Farm further prays that upon final trial,

judgment be rendered such that Plaintiffs take nothing by their suit against State Farm. State

Farm additionally asks for such other and further relief to which it may be justly entitled.

                                              Respectfully submitted,

                                              GERMER PLLC



                                              By: _________________________________
                                                     Dale M. “Rett” Holidy
                                                     State Bar No. 00792937
                                                     Federal I.D. No. 21382
                                                     Three Allen Center
                                                     333 Clay Street
                                                     Houston, Texas 77002
                                                     Telephone: (713) 650-1313
                                                     Facsimile: (713) 739-7420
                                                     Email: rholidy@germer.com

                                              ATTORNEY-IN-CHARGE FOR DEFENDANT

OF COUNSEL:

GERMER PLLC
Gregory M. Howard
State Bar No. 24042989
Federal I.D. No. 619850
Three Allen Center
333 Clay Street, Suite 4950
Houston, Texas 77002
Telephone: (713) 650-1313
Facsimile: (713) 739-7420
Email: ghoward@germer.com




                                                -4-
     Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 5 of 36



                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been duly
sent via CM/ECF on August 24, 2015 to all counsel of record, as follows:

       John D. Sheppard                            VIA FAX AND CM/RRR
       jsheppard@morrowsheppard.com
       Nicholas A. Morrow
       nmorrow@morrowsheppard.com
       MORROW & SHEPPARD LLP
       3701 Kirby, Suite 840
       Houston, Texas 77098


                                                   ___________________________________
                                                   Dale M. “Rett” Holidy




                                             -5-
Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 6 of 36
      Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 7 of 36



                                            EXHIBIT A

                                LIST OF ATTORNEYS/PARTIES

1.     John D. Sheppard
       Nicholas A. Morrow
       MORROW & SHEPPARD LLP
       3701 Kirby, Suite 840
       Houston, Texas 77098
       Telephone: (713) 489-1206
       Facsimile: (713) 893-8370

Attorneys for Plaintiff

2.     Dale M. “Rett” Holidy
       Gregory M. Howard
       GERMER PLLC
       Three Allen Center
       333 Clay Street
       Houston, Texas 77002
       Telephone: (713) 650-1313
       Facsimile: (713) 739-7420

Attorneys for Defendant



                                 INDEX OF DOCUMENTS FILED
                                   WITH REMOVAL ACTION

          VARSHAD DESAI AND AMRISH PATEL V. STATE FARM LLOYDS


               (a)        Plaintiffs’ Original Petition, Request for Disclosure and Jury Demand;
               (b)        Citation on Defendant;
               (c)        Plaintiffs’ First Amended Petition, Request for Disclosure and Jury
                          Demand;
               (c)        Plaintiffs’ Second Amended Petition, Request for Disclosure, and Jury
                          Demand;
               (d)        Defendant’s Answer & Special Exceptions to Plaintiffs’ Second Amended
                          Petition; and
               (e)        Docket/Case Summary Sheet.
.. .
             Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 8 of 36


                                                                     COPY                                                 FILED
                                                                                                           6/23/2015 4:20:16 PM
                                                                                                                   Stan Stanart
                                                                                                                  County Clerk
                                                                                                                  Harris County

                                                  NO.          1064068

        VARSHAD DESAI AND AMRISH PATEL §
                                                                 §
                     Plaintiffs,                                 §
                                                                 §        IN THE HARRIS COUNTY
        v.                                                       §        CIVIL COURT OF LAW#          4
                                                                 §
        STATE FARM LLOYDS, INC                                   §
                                                                 §
                     Defendant                                   §


                                        PLAINTIFF'S ORIGINAL PETITION,
                                   REQUEST FOR DISCLOSURE. AND JURY DEMAND

                Plaintiffs files this Original Petition, Request for Disclosure, and Jury Demand against

       Defendant State Farm Lloyds, Inc., and would respectfully show the Co'urt as follows:

                                             I.   JURISDICTION & VENUE

                    1.      Venue and ju_risdiction are proper in this Court because Defendant is a resident of

       Texas, ·because this cause of action involves a controversy within the jurisdictional limits of this

       Court, and because all or a substantial part of the events or omissions giving rise to the claim .

       occurred in Harris County, Texas. Plaintiffs seek damages within the jurisdictional limits of this

       Court. Pursuant to Texas Rule of Civil Procedure Rule 47(c), Plaintiffs seek monetary relief of

       over $100,000 and under $200,000 .

                                              . II.   DISCOVERY LEVEL

                2.          Discovery may be conducted under Level 2 of the Texas Rules of Civil Procedure.

                                                        III.    PARTIES

                3.          Plaintiffs are residents of Texas.

                4.          Defendant State .Farm Lloyds, Inc. is a resident of Texas and may be served through

       its registered agent Corporation Service Company d/b/a CSC Lawyers Inc., 21 l E. 7th Street, Suite

       620, Austin, Texas 7870 I.


       46196273.1




                                                        Exhibit A
....   ,.
                 Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 9 of 36




                                                       IV.     FACTS

                    5.      Plaintiffs are named insureds under an insurance policy issued by Defendant

            covering their property and business located at 3 Riverway Suite B 1, Houston, Texas 77056, which

            is operated as a Murphy's Deli in the Galleria.

                    6.      On or about May 25, 2015 and May 26, 2015, Plaintiffs' business and property

            suffered covered damage and losses covered by their insurance policy, and they filed a claim on

            their policy.

                    7.      Defendant improperly denied the claim.

                    8.      The adjuster assigned to the claim conducted a substandard investigation and

            inspection of the property and loss, and performed an outcome-oriented investigation of the claim,

            which resulted in a biased, unfair, and inequitable evaluation of Plaintiffs' losses and denial of

            Plaintiffs' claim.

                                 V.   CAUSE OF ACTION - BREACH OF CONTRACT

                    9.      Each of the forego_ing paragraphs are incorporated by reference herein.

                    10.     Plaintiffs had a contract of insurance with Defendant. Defendant breached the

            terms of that contract by wrongfully denying the claim and Plaintiffs were proximately damaged

            thereby.

                       VI. CAUSE OF ACTION -PROMPT PAYMENT OF CLAIMS STATUTE

                    11.     Each of the foregoing paragraphs are incorporated by reference herein.

                   ·12.     The failure of Defendant to pay for the losses and/or follow the statutory guidelines

            for accepting or denying coverage constitutes a violation of Article 542.051 et seq. of the Texas

            Insurance Code.

                    13.     Plaintiffs, therefore, in addition to Plaintiffs' claim for damages, are entitled to 18%

            interest and attorneys' fees as set forth in Article 542.060 of the Texas Insurance Code.


                                                              - 2-
..       Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 10 of 36




                            VII. CAUSE OF ACTION - BAD FAITH I DTPA

             14.     Each of the foregoing paragraphs are incorporated by reference herein.

             15.     Defendant is required to comply with Chapter 541 of the Texas Insurance Code.

             16.     Defendant violated Chapter 541.051 of the Texas Insurance Code by making

     statements misrepresenting the terms and/or benefits of the policy.

             17.     Defendant violated Chapter 541.060 by (1) misrepresenting to Plaintiffs a material

     fact or policy provision relating to coverage at issue; (2) failing to attempt in good faith to

     effectuate a prompt, fair, and equitable settlement of a claim with respect to which the insurer's

     liability had become reasonably clear; (3) failing to promptly provide to Plaintiffs a reasonable

     explanation of the basis in the policy, in relation to the facts or applicable law, for the insurer's

     denial of a claim or offer of a compromise settlement of a claim; (4) failing within a reasonable

     time to affirm or deny coverage of a claim to Plaintiffs or submit a reservation of rights to

     Plaintiffs; (5) refusing to pay the claim without conducting a reasonable investigation with respect

     to the claim.

             18.     Defendant violated Chapter 541.061 by (1) making an untrue statement of material

     fact; (2) failing to state a material fact necessary to render other statements made not misleading

     considering the circumstances under which the statements were made; (3) making a statement in

     a matter that would mislead a reasonably prudent person to a false conclusion of material fact; (4)

     making a material misrepresentation oflaw; and (5) failing to disclose a matter required by law to

     be disclosed.

             19.     At all material times hereto, Plaintiffs were consumers who purchased insurance

     products and services from Defendant.

            20.      Defendant has violated the Texas Deceptive Trade Practices Act in the following

     respects: (I) Defendant represented that the agreement confers or involves rights, remedies, or


                                                     -3-
.. ..       Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page
                                                                      ...!
                                                                           11 of 36




        obligations which it does not have, or involve, or which are prohibited by law; (2) Defendant failed

        to disclose information concerning goods or services which was known at the time of the

        transaction when such failure to disclose such information was intended to induce the consumer

        into a transaction that the consumer would not have entered into had the information been

        disclosed; (3) Defendant, by accepting insurance premiums but refusing without a reasonably basis

        to pay benefits due and owning, engaged in an unconscionable action or course of action as

        prohibited by the DTPA Section J 7.50(a)(l)(3) in that Defendant took advantage of Plain.tiffs' lack

        of knowledge, ability, experience, and capacity to a grossly unfair degree, that also resulted in a

        gross disparity between the consideration paid in the transaction and the value received, in

        violation of Chapter 541 of the Insurance Code.

               21.     Defendant knowingly committed the acts compliant of. As such, Plaintiffs are

        entitled to exemplary and/or treble damages pursuant to the DTPA and Texas Insurance Code

        Section 541.152(a)-(b).

                                           VIII. ATTORNEYS FEES

               22.       Plaintiffs are entitled to reasonable and necessary attorneys fees pursuant to

        Texas Civil Practices and Remedies Code 38.001-38.003, and pursuant to Texas Insurance Code

        541.152 and 542.060.

                                       IX. CONDITIONS PRECEDENT

               23 .    All conditions precedent have been performed or have occurred, or have been

        waived by Defendant.

                                     X.    REQUEST FOR DISCLOSURE

               24.     Plaintiffs request that Defendant timely disclose the information and materials

        required by Texas Rule of Civil Procedure 194.2(a)-(I).




                                                       -4-
4.   1'   .;:


                     Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 12 of 36




                                                 XI.RESERVATION OF RIGHTS

                        25.        These allegations are made acknowledging that this lawsu.it is still in its early

                stages, and investigation, although undertaken, is continuing. As further investigation is
                                          .                                  -
                conducted, additional facts will surely be uncovered that may and probably will necessitate further,

                additional, and/or different allegations.

                                                        XII. JURY DEMAND

                        26.     Plaintiffs request ajury trial. Tex. R. Civ. P. 216(a).

                                                            XIII.   PRAYER

                        WHEREFORE, PREMISES CONSIDERED, Plaintiffs request that Defendant be cited to

                appear and answer, and that on final trial hereof Plaintiffs have judgment against Defendant for

                ( l) actual and compensatory damages, (2) punitive and exemplary damages, (3) prejudgment and

                postjudgment interest, (4) costs of suit, (5) attorneys fees, (6) such other and further relief to which

                Plaintiffs may _be justly entitled at law .and in equity.

                                                                      MORROW & SHEPPARD LLP



                                                                      Isl John D. Sheppard
                                                                           John D. Sheppard
                                                                           State Bar No. 24051331
                                                                          jsheppard@morrowsheppard.com
                                                                          Nicholas A. Morrow
                                                                           State Bar No. 24051088
                                                                          nmorrow@morrowsheppard.com
                                                                       3701 Kirby Dr, Ste 840
                                                                       Houston, TX 77098
                                                                     · Telephone:     (713) 489-1206
                                                                       Facsimile:     (713) 893-8370

                                                                      Attorneys for Plaintiffs




                                                                    -5-
                  Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 13 of 36
    VARSHAD DESAI et al.
    VS.
    STATE FARM LLOYDS INC CIVIL PROCESS REQUEST FORM

                         FOR EACH PARTY SERVED YOU MUST FURNISH ONE (1) COPY OF THE PLEADING
                        FOR WRITS FURNISH TWO (2) COPIES OF THE PLEADING PER PARTY TO BE SERVED

CASE NUMBER:                     1 064068 ·                                          CURRENT COURT:             CCCL4
                                                                                                              -~~~~~~~~~~~~




TYPE OF INSTRUMENT TO BE SERVED (See Reverse For Types): ~O"-'rict:og~in~al:....:P~e::.!::tie!!.ti~on"----------------

FlLEOATEOFMOTION:6nY~l5~~~~~~~~~~~~~~~~~~~~~~~~-
                        Month/ Day! Year
SERVICE
      .
        TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be Served):
                                                             ~




1. NAME: State Farm Lloyds. Inc
     ADDRESS: 211 E. 7'11 Street. Suite 620. Austin. Texas 78701
     AGENT, (ifapplicable): Registed Agent: Corporation Service Company d/b/a CSC Lawyers Inc.
TYPE OF SERVICE/PROCESS TO BE ISSUED (see revmefor specific type):
      SERVICE BY (check one):
         0 AITORNEY PICK-UP                             0 CONSTABLE
         0 CIVIL PROCESS SERVER - Authorized Person to P i c k - u p : - - - - - - - - - Phone: - - - - - -
         0 MAIL                                         [8l CERTIFIED MAIL
         0 PUBLICATION:
             Type of Publication:    0 COURTHOUSE DOOR, or
                                     0 NEWSPAPER OF YOUR CHOICE: - - - - - - - - - - - - - - - -
         0 OTHER, explain .......- - - - - - - - - - - - - - - ' - - - - - - - - - - - , - - - - - - - - - - - - - '
                                                              ATTENTION: Effective June I, 20)(}

     For all Services Provided by the DISTRCT CLERKS OFFICE requiring our office to MAIL something back to ·the
  Requesting Party, we require that the Requesting Party provide a Self-Addressed Stamped Envelope with sufficient postage
                                                 for mail back. Thanks you,

**********************************************************************************************************

2. NAME:   ~-..,._-.....,...------------------------------­
     ADDRESS: ~------------------------------~
   A9EN.T, (ifapplicable):· - - ' - - - - - - - - -- - -- - - - - - - - - - - - - - - - - - -
TYPE OF
      .
        SERVICE/PROCESS       . . TO BE
                                     .
                                        ISSUED (see
                                                - .
                                                    reverse for specific type):
     SERVICE BY (check one):
        D ATTORNEY PICK-UP                                                           D     CONSTABLE
           0     CIVIL PROCESS SERVER - Authorized Person to P i c k - u p : - - - - - - - - Phone: _ _ _ _ __
           0     MAIL                                                                0    CERTIFIED MAIL
           D     PUBLICATION:
                  Type of Publication:               0     COURTHOUSE DOOR, or
                                                     0     NEWSPAPER OF YOUR CHOICE:
                                                                                                          --------------
           0     OTHER, explain
                                          -----------------------------~




AITORNEY (OR ATTORNEY'S AGENT) REQUESTING SERVICE:
NAME: John Sheppard                                                                                    TEXAS BAR NO./ID NO. =-24""""0-=-5=13-=-3:.. .I- - - -
MAILING ADDRESS: 3701 Kirby Drive. Suite 840. Houston. Texas 77098
PHONE NUMBER:                    713                     489-1206                               FAX NUMBER:       713          .=89'""3-'-8=3-"-70:.__ _ _ __
                            ~de-                              phone number                                         area code           fax number

EMAIL ADDRESS: jsheppard@morrowsheppard.com - - - - - - - - - - -- - - - - - - - - - - - -


                                                                                    Page 1 of2
S:lfonnsLib\Civil Bureau\Civ Fam Intake & Customer Svc\Civintnke\Civil   Pr~ss   Request Fom1                                                        Rev. smro
.,
                       Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 14 of 36

          SERVICE REQUESTS WHICH CANNOT BE PROCESSED BY nus OFFICE WILL BE HELD FOR 30 DAYS PR10R TO
        · CANCELLATION. FEES WILL BE REFUNDED ONLY UPON REQUEST, OR AT THE DISPOSITION OF THE CASE .
       . SERVICE REQUESTS MAy BE REINSTATED UPON APPROPRIATE ACTION BY THE PARTIES.




     INSTRUMENTS TO BE SERVED:                                                                        PROCESS TYPES:
     (Fill In Instrument Sequence Number, i.e. !st, 2nd, etc.)
                                                                                                      NON WRIT:
     ORIGINAL PETITION                                                                                CITATION
            AMENDED PETITION                                                                          ALIAS CITATION
            SUPPLEMENTAL PETITION                                                                     PLURIES CITATION
                                                                                                      SECRETARY OF STATE CITATION
                                                                                                      COMMISSIONER OF INSURANCE
     COUNTERCLAIM                                                                                     HrGHWAY COMMISSIONER
           AMENDED COUNTERCLAIM                                                                       CITATION BY PUBLICATION
           SUPPLEMENTAL COUNTERCLAIM                                                                  NOTICE
                                                                                                      SHORT FORM NOTICE
     CROSS-ACTION:
            AMENDED CROSS-ACTION                                                                      PRECEPT (SHOW CAUSE)
            SUPPLEMENTAL CROSS-ACTION                                                                 RULE 106 SERVICE

     THIRD-PARTY PETITION:                                                                            SUBPOENA
            AMENDEDTHIRD-PARTY PETITION
            SUPPLEMENTAL THIRD-PARTY PETITION                                                         WRITS:
                                                                                                      ATTACHMENT (PROPERTY)
     INTERVENTION:                                                                                    ATACHMENT (WITNESS)
            AMENDED INTERVENTION                                                                      ATTACHMENT (PERSON)
            SUPPLEMENTAL INTERVENTION

     INTERPLEADER
                                                                                   ...
                                                                                                      CERTIORARI
            AMENDED INTERPLEADER
            SUPPLEMENTALINTERPLEADER                                                                  EXECUTION
                                                                                                      EXECUTION AND ORDER OF SALE

                                                                                                      GARNISHMENT BEFORE JUDGMENT
     INJUNCTION                                                                                       GARNISHMENT AFTER JUDGMENT
     MOTION TO MODIFY
                                                                                                      HABEAS CORPUS
     SHOW CAUSE ORDER                                                                                 INJUNCTION
                                                                                                      TEMPORARY RESTRAINING ORDER
     TEMPORARY RESTRAINING ORDER
                                                                                                      PROTECTIVE ORDER (FAMILY CODE)
                                                                                                      PROTECTIVE ORDER (CIVIL CODE)

     BILL OF DISCOVERY:
           ORDER TO:                                                                                  POSSESSION (PERSON)
                                                 (specify)                                            POSSESSION (PROPERTY)
          MOTION TO:
                                                 (specify)
                                                                                                      SCIRE FACIAS
                                                                                                      SEQUESTRATION
                                                                                                      SUPERSEDEAS




                                                                                         Page 2 of2
     S:\fonnsLiblCivil BureaulCiv Fam Intake & Cus10mer Sve\Civintake\Civil Pwcess Request Form                               Rev. sn110
                  Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 15 of 36
STAN STANART                                                                                                                     Dt.r_ ._   ·_.d · :

COUNTY CLERK. HARRIS COUNTY
POST OFFICE BOX 1525
HOUSTON, TEXAS 77251-1525
                                                           111                                                                                                          ,-      1     • I•


                                          7009 2820 0001 7461 4249                                                                                     • .L ~ .,   i.        ! . ~:·.~c· ~_; .   ·'":. ~




                                                                                  TO:                                        RETURN POSTAGE GUARANTEED




                                                                                     STATE FARM LLOYDS, INC.
                                                                                     C/O CORPORATION SERVICE COMPANY
                                                                                     D/B/A CSC LAWYERS INC.,
                                                                                     211 E. 7T11 STREET, SUITE 620
                                                                                     AUSTljlf, TEXAS 78701
                                                                                     BY DELIVERY TO ADDRESSEE ONLY
                                                                                '----- - -~-       .        ·- 1RECEIPT REQUESTED
                                                                     \11tl\ll1l•\ Iilll 11!1·rh·1ii111l1l I111·1'\ll 11 11lii11•1 1
                                                                                                                                            . r
             Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 16 of 36




           lb
C 0 RP 0 RAT I 0 N SERVICE C 0 M PA I Y'

                                                                                                                         null/ ALL
                                                                                                     Transmittal Number: 13972720
Notice of Service of Process                                                                            Date Processed: 07/02/2015

Primary Contact:           State Farm Enterprise SOP
                           Corporation Service Company- Wilmington, DELAWARE
                           2711 Centerville Road
                           Wilmington, DE 19808

Entity:                                       State Farm Lloyds, Inc.
                                              Entity ID Number 3464317
Entity Served:                                State Farm Lloyds, Inc.
Title of Action:                              Varshad Desai vs. State Farm Lloyds, Inc
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Harris County Civil Court, Texas
Case/Reference No:                            1064068
Jurisdiction Served:                          Texas
Date Served on CSC:                           07/02/2015
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         csc
How Served:                                   Certified Mail
Sender Information:                           John D.Sheppard
                                              713-489-1206

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                To avoid potential delay, please do not send your response to CSC
                              CSC is SAS70 Type II certified for its Litigation Management System.
                         2711 Centerville Road Wilmington, DE 19808 (888) 690-2882          I   sop@cscinfo.com
                Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 17 of 36

                                                 STAN STANART
                                        COUNTY CLERK, HARRIS COUNTY, TEXAS
                                         COUNTY CIVIL COURTS DEPARTMENT

                                                  Docket Number: 1064068
                       Receipt Number: OOC                   No Sheriff/Constable Fee Collected

VARSHAD DESAI AND AMRISH PATEL
Plaintiff                                                        ln The County Civil Court at Law No.Four (4)
VS.                                                              201 Caroline I Suite 540
STATE FARM LLOYDS, INC                                           Houston, Harris County, Texas 77002
Defendant
                                                                    7009 2820 0001 7461 4249

                                              THE ST ATE OF TEXAS
                                   ORIGINAL PETITION - DISCLOSURES CITATION
                                 BY CERTIFIED MAIL THROUGH THE COUNTY CLERK

TO:      State Farm Lloyds, Inc.
         served through its registered agent Corporation Service Company d/b/a CSC Lawyers Inc.,
         211 E. 7th Street, Suite 620
         Austin, Texas 7870 I

         By Certified Mail, Return Receipt Requested

Attached is a copy of petition with discovery attached.
This instrument was filed on the 23rd day of June, 2015 in the above cited cause number and court. The instrument
attached describes the claim against you.

You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the county
clerk who issued this citation by I 0:00 a.m. on the Monday next following the expiration of twenty days after you were
served this citation and petition, a default judgment may be taken against you.

Issued and given under my hand and the seal of said court, at Houston, Tex~s, on this 29th day of June, 2015.

(SEAL)                                                              STAN STANART, County Clerk
                                                                    County Civil Court at Law No. Four (4)
                                                                    201 Caroline, Suite 300
                                                                    Harris County, Texas




                                                                    Terrence Latrelle Washin
                                                                    Deputy County Clerk

REQUESTED BY:             JOHNDENIS SHEPPARD

                          3701 KIRBY DR, STE 840
                          HOUSTON, TEX.AS 77098




                                    P.O. Box 1525 • Houston, TX 77251-1525 • (713) 755-6421
                                                      www.cclerk.hctx.net
      Form No. H-01-199 (Rev. 03121120 12)                                                               Page 1 of1
                  Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 18 of 36


                                                                      OFFICER'S RETURN

Came to hand on                                                                                     , at                   o'clock _ .M. and

executed in                                                                          County, Texas, by delivering to each of the within named Defendants, in
>erson, a ttue copy or this Citation together with the accomnanvtn2 coov ot the PJaint1tt's oetttlon, at the tollowmg time anCI places to-wit:

                                                      DATE                                             TIME
                     NAME                                                                                                               PLACE OR
                                                      Month          Day        Year          Hour I Min. - AM/PM                   ADDRESS OF SERVICE




and not executed as to the Defendant __________________________________________


the diligence u~ed in finding said Defendant, being _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ __


and the cause of failure to execute this process is: - - - -- - - - - - - - - - - - - - - - - - - - - - - - - -- -- -
and the information received as to the whereabouts of the sai.d Defendant , being: - - - - - - - -
                                                                                                 : - -- - - - - - - - - - -- -


                                                                             _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _(Sheriff)
(Authorized Person)                                                               '                                                                    (Constable)
Sworn to and subscribed before me this                         day                                                                           County, Texas

of   ~~~~~~~~~-




                                                                                        By                                                                                , Deputy
(Notary Public)



                                           RETURN FOR NOTICE TO SERVE NON-RESIDENT DEFENDANT

STATE OF                                                §

ooumv~                                                  §

Before me, the undersigned authority, personally appeared                                                                                                  ,
a person competent to make oath, and who by me being duly sworn, deposes and says; that this notice came to hand o n - - - - - - - - - -
- - - - - - -- - - -- - -- - -- - - - - - - - - - ' a t                      o'clock A.M./P.M., and executed by delivering
to defendant, _,                                    in person, at _ _ _ _ _ _ __ _ _ _ _ _ __
in                                                          · , County                        State of
________________________,on                                                                                                    at                               o'clock
A.M./P.M., a true copy of the notice, with a copy of plaintifl:'s petition attached thereto. He further says that he is in no manner interested in this Suit.


Sworn to and subscribed before me,


                                                                             - - - - - - - - - - - - - - - - - - - - - - '(Sheri ft)
                                                                                                                        (Constable)
                                                                             ---------------------~Coun~.


                                                                             Srateof _ _ __ _ _ _ _ _ _ _ _ _ _~~-~--~


                                                                                        By                                                                                Deputy



                                           '
Form No. H-01-28 (Rev. 08/01/2011)
      Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 19 of 36



                                              NO. 1064068

 VARSHAD DESAI AND AMRISH PATEL §
                                §
      Plaintiffs,               §
                                §                            IN THE HARRIS COUNTY
 v.                             §                            CIVIL COURT OF LAW # 4
                                §
 STATE FARM LLOYDS, INC AND     §
 STATE FARM LLOYDS              §
                                §
      Defendant


                       PLAINTIFF’S FIRST AMENDED PETITION,
                    REQUEST FOR DISCLOSURE, AND JURY DEMAND

         Plaintiffs files this Original Petition, Request for Disclosure, and Jury Demand against the

above named Defendants, and would respectfully show the Court as follows:

                                 I.     JURISDICTION & VENUE

         1.     Venue and jurisdiction are proper in this Court because Defendants are residents of

Texas, because this cause of action involves a controversy within the jurisdictional limits of this

Court, and because all or a substantial part of the events or omissions giving rise to the claim

occurred in Harris County, Texas. Plaintiffs seek damages within the jurisdictional limits of this

Court. Pursuant to Texas Rule of Civil Procedure Rule 47(c), Plaintiffs seek monetary relief of

over $100,000 and under $200,000.

                                      II.   DISCOVERY LEVEL

         2.     Discovery may be conducted under Level 2 of the Texas Rules of Civil Procedure.

                                            III.   PARTIES

         3.     Plaintiffs are residents of Texas.




46196273.1
     Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 20 of 36



        4.      Defendant State Farm Lloyds, Inc. is a resident of Texas and may be served through

its registered agent Corporation Service Company d/b/a CSC Lawyers Inc., 211 E. 7th Street, Suite

620, Austin, Texas 78701.

        5.      Defendant State Farm Lloyds is a resident of Texas and may be served through its

registered agent Corporation Service Company d/b/a CSC Lawyers Inc., 211 E. 7th Street, Suite

620, Austin, Texas 78701-3218.

                                          IV.     FACTS

        6.      Plaintiffs are named insureds under an insurance policy issued by Defendants

covering their property and business located at 3 Riverway Suite B1, Houston, Texas 77056, which

is operated as a Murphy’s Deli in the Galleria.

        7.      On or about May 25, 2015 and May 26, 2015, Plaintiffs’ business and property

suffered covered damage and losses covered by their insurance policy, and they filed a claim on

their policy.

        8.      Defendants improperly denied the claim. The claim should be paid in full.

        9.      The adjuster assigned to the claim conducted a substandard investigation and

inspection of the property and loss, and performed an outcome-oriented investigation of the claim,

which resulted in a biased, unfair, and inequitable evaluation of Plaintiffs’ losses and denial of

Plaintiffs’ claim.

                     V.   CAUSE OF ACTION – BREACH OF CONTRACT

        10.     Each of the foregoing paragraphs are incorporated by reference herein.

        11.     Plaintiffs had a contract of insurance with Defendants. Defendants breached the

terms of that contract by wrongfully denying the claim and Plaintiffs were proximately damaged

thereby.




                                                  -2-
     Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 21 of 36



                                      VI. ATTORNEYS FEES

       12.         Plaintiffs are entitled to reasonable and necessary attorneys fees pursuant to

Texas Civil Practices and Remedies Code 38.001-38.003.

                                 VII. CONDITIONS PRECEDENT

       13.       All conditions precedent have been performed or have occurred, or have been

waived by Defendants.

                             VIII.    REQUEST FOR DISCLOSURE

       14.       Plaintiffs request that Defendants timely disclose the information and materials

required by Texas Rule of Civil Procedure 194.2(a)-(l).

                                 IX. RESERVATION OF RIGHTS

       15.          These allegations are made acknowledging that this lawsuit is still in its early

stages, and investigation, although undertaken, is continuing.              As further investigation is

conducted, additional facts will surely be uncovered that may and probably will necessitate further,

additional, and/or different allegations.

                                         X. JURY DEMAND

       16.       Plaintiffs request a jury trial. Tex. R. Civ. P. 216(a).

                                            XI.   PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs request that Defendants be cited to

appear and answer, and that on final trial hereof Plaintiffs have judgment against Defendant for

(1) actual and compensatory damages, (2) prejudgment and postjudgment interest, (4) costs of suit,

(5) attorneys fees, (6) such other and further relief to which Plaintiffs may be justly entitled at law

and in equity.




                                                  -3-
Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 22 of 36



                                   MORROW & SHEPPARD LLP



                                   /s/ John D. Sheppard
                                        John D. Sheppard
                                        State Bar No. 24051331
                                        jsheppard@morrowsheppard.com
                                        Nicholas A. Morrow
                                        State Bar No. 24051088
                                        nmorrow@morrowsheppard.com
                                   3701 Kirby Dr, Ste 840
                                   Houston, TX 77098
                                   Telephone:      (713) 489-1206
                                   Facsimile:      (713) 893-8370

                                   Attorneys for Plaintiffs




                                -4-
Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 23 of 36
Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 24 of 36
Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 25 of 36
Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 26 of 36
      Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 27 of 36                                   FILED
                                                                                                8/7/2015 2:43:10 PM
                                                                                                        Stan Stanart
                                                                                                       County Clerk
                                                                                                       Harris County

                                      CAUSE NO. 1064068

VARSHAD DESAI AND                            §
AMRISH PATEL                                 §
                                             §               IN THE HARRIS COUNTY
VS.                                          §               CIVIL COURT OF LAW NO. 4
                                             §
STATE FARM LLOYDS                            §

      DEFENDANT’S ANSWER TO PLAINTIFFS’ SECOND AMENDED PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       Defendant State Farm Lloyds files this Answer to Plaintiffs’ Second Amended Petition,

and all subsequent amended or supplemented petitions filed against Defendant, and shows as

follows:

                                            I.
                                      GENERAL DENIAL

       1.      Defendant generally denies all of the material allegations contained in Plaintiffs’

Second Amended Petition and any amendments and supplements thereto and demands strict

proof thereof as allowed under the laws of the State of Texas. By this general denial, Defendant

would require Plaintiffs to prove every fact to support the claims in Plaintiffs’ Second Amended

Petition and any amendments and supplements thereto by a preponderance of the evidence.

                                              II.
                                           DEFENSES

       2.      Policy Coverage Provisions.       Under the policy made the basis of this suit,

Plaintiffs have the burden to prove damage(s) resulting from an occurrence of accidental direct

physical loss to the insured property during the policy period. To the extent applicable, Plaintiffs

lack proof that any additional damages resulted from any accidental direct physical loss during

the policy period. Defendant would further show that, to the extent applicable, it has fully

complied with all provisions, terms, and conditions set forth in the policy.
     Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 28 of 36



       3.      Payment. Defendant is entitled to an offset or credit against Plaintiffs’ damages,

if any, in the amount of all payments Defendant has made to or on behalf of Plaintiffs under the

policy in connection with the damages and the insurance claim made the basis of Plaintiffs’

claims in this lawsuit.

       4.      Deductible/Offset. Defendant is entitled to an offset or credit against Plaintiffs’

damages, if any, in the amount of Plaintiffs’ deductible.

       5.      Limit of Liability. Defendant’s liability, if any, is limited to the amount of the

policy limits under the subject policy pursuant to the “Limit of Liability,” “Limits of Insurance,”

and other similar provisions contained in the policy made the basis of this suit.

       6.      Failure of Policy Conditions/Conditions Precedent.               Defendant hereby

references all conditions of the policy at issue, including, but not limited to, all terms,

deductibles, limitations on coverage, exclusions set out in the Policy, and all “duties in the event

of loss.” To the extent applicable and by way of example only, Defendant would show that

Plaintiffs have failed to satisfy one or more conditions of the policy as set forth in SECTION I –

CONDITIONS; c. Duties in the Event of Loss.

       7.      Pre and Post-Existing Damages. Plaintiffs’ claims are barred, in whole or in

part, because the damages and losses alleged in Plaintiffs’ Second Amended Petition, none being

admitted, pre-existed and/or occurred subsequent to the alleged incident of loss.

       8.      Water Damage. Defendant would further show that the policy made the basis of

this suit contains terms and conditions expressly excluding the coverage sought by Plaintiffs. By

way of example only, Plaintiffs’ claims are barred, in whole or in part, because the damages and

losses alleged in Plaintiffs’ Second Amended Petition, none being admitted, were proximately

caused, in whole or in part, by water damage. The policy at issue specifically provides:




                                                 2
     Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 29 of 36



                                  SECTION I – EXCLUSIONS

       1.      We do not insure under any coverage for any loss which would not have
               occurred in the absence of one or more of the following excluded events.
               We do not insure for such loss regardless of: (a) the cause of the excluded
               event; or (b) other cause of the loss; or (c) whether other causes acted
               concurrently or in any sequence with the excluded event to produce the
               loss; or (d) whether the event occurs suddenly or gradually, involves
               isolated or widespread damage, arises from natural forces, or occurs

                                               * * * * *

               h.      Water

                       (1)     Flood, surface water, waves (including tidal waves,
                               tsunami, and seiche), tides, tidal water, overflow of any
                               body of water, or spray or surge from any of these, all
                               whether driven by wind or not;

       9.      Chapter 38 Attorney’s Fees. Plaintiffs cannot recover attorney’s fees from

Defendant under Chapter 38 of the Texas Civil Practice and Remedies Code. “A person may

recover reasonable attorney’s fees from an individual or corporation, in addition to the amount of

a valid claim and costs, if the claim is for . . . (8) an oral or written contract.” TEX. CIV. PRAC. &

REM. CODE § 38.001(8). Chapter 38 does not apply to Defendant because it is an unincorporated

association of underwriters. See Fleming & Assocs., L.L.P. v. Barton, 425 S.W.3d 560, 575 (Tex.

App.—Houston [14th Dist.] 2014, pet. filed).

                                            III.
                                    SPECIAL EXCEPTIONS

       10.     Failure to Set Forth Specific Claims/Facts – Breach of Contract. Defendant

specially excepts to Plaintiffs’ Second Amended Petition because the vague and indefinite breach

of contract claim fails to provide fair notice of: (1) the facts of the loss or losses allegedly

sustained by Plaintiffs; (2) the facts showing Plaintiffs’ alleged loss or losses were covered under

the terms of the policy at issue; and (3) the acts and/or omissions by Defendant which allegedly




                                                  3
     Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 30 of 36



amounted to a breach of Defendant’s contractual obligations, if any, to Plaintiffs. Subia v. Texas

Dep’t of Human Serv., 750 S.W.2d 827, 829 (Tex. App. — El Paso 1988, no writ) (trial court can

order the plaintiffs to specifically plead a cause of action which was originally pleaded in general

terms). Accordingly, Plaintiffs should be required to amend their claim for breach of contract

and state with particularity: (1) facts supporting the alleged loss; (2) facts demonstrating the

portion of the loss covered by the policy in question; (3) facts of the acts and/or omissions by

Defendant which allegedly amounted to a breach of contractual obligation to Plaintiffs; and (4)

the maximum amount of damages sought by Plaintiffs for Defendant’s alleged breach of

contract.

       11.     Failure to Identify the Date the Breach of Contract Occurred. Defendant

specially excepts to Plaintiffs’ Second Amended Petition in its entirety because it is

impermissibly vague in that it fails to set forth the date the alleged breach of contract occurred.

Therefore, Plaintiffs should be required to file an amended pleading setting forth the date the

alleged breach of contract occurred.

       12.     Failure to Set Forth Specific Claims/Facts – Plaintiffs’ Claim for Attorney’s

Fees for Breach of Contract. Defendant specially excepts to Plaintiffs’ Second Amended

Petition because Plaintiffs failed to provide sufficient notice of facts, sufficient demand or the

amount of attorney’s fees incurred for the purpose of satisfying the requirements of TEX. CIV.

PRAC. & REM. CODE Chapter 38.

       For these reasons, Defendant respectfully requests the Court sustain Defendant’s special

exceptions to Plaintiffs’ Second Amended Petition. Defendant further requests that, upon final

trial and hearing hereof, Plaintiffs take nothing and that Defendant recover its costs, fees, and




                                                 4
     Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 31 of 36



expenses. Defendant additionally prays for such other further relief to which Defendant may

show itself to be justly entitled, both in law and at equity.

                                               Respectfully submitted,

                                               GERMER PLLC


                                               By:____________________________
                                                  DALE M. “RETT” HOLIDY
                                                  State Bar No. 00792937
                                                  GREGORY HOWARD
                                                  State Bar No. 24042989
                                                  Three Allen Center
                                                  333 Clay Street, Suite 4950
                                                  Houston, Texas 77002
                                                  (713) 650-1313 - Telephone
                                                  (713) 739-7420 – Facsimile
                                                  rholidy@germer.com – Email

                                               ATTORNEYS FOR DEFENDANT


                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been served
on all counsel of record on this 7th day of August, 2015.

               John D. Sheppard                        VIA E-SERVICE
               jsheppard@morrowsheppard.com
               Nicholas A. Morrow
               nmorrow@morrowsheppard.com
               MORROW & SHEPPARD LLP
               3701 Kirby, Suite 840
               Houston, Texas 77098



                                                   ____________________________
                                                   DALE M. “RETT” HOLIDY
                                                   GREGORY HOWARD




                                                   5
Envelope Details                                                           Page 1 of 2
        Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 32 of 36


 Print this page

 Case # 1064068 - VARSHAD DESAI et al VS STATE FARM
 LLOYDS INC (CCCL 4)
 Case Information
 Location                       Harris County Clerk - Civil
 Date Filed                     08/07/2015 02:43:10 PM
 Case Number                    1064068
 Case Description               VARSHAD DESAI et al VS STATE FARM LLOYDS INC
 Assigned to Judge              CCCL 4
 Attorney                       Dale Holidy
 Firm Name                      Germer PLLC
 Filed By                       Erika Lopez
 Filer Type                     Not Applicable
 Fees
 Convenience Fee                $0.06
 Total Court Case Fees          $0.00
 Total Court Filing Fees        $0.00
 Total Court Service Fees       $2.00
 Total Filing & Service Fees    $0.00
 Total Service Tax Fees         $0.00
 Total Provider Service Fees    $0.00
 Total Provider Tax Fees        $0.00
 Grand Total                    $2.06
 Payment
 Account Name                   File & ServeXpress Monthly Bill
 Transaction Amount             $2.06
 Transaction Response           Approved
 Transaction ID                 10526600
 Order #                        006407627-0

 Answer/Response
 Filing Type                                      EFileAndServe
 Filing Code                                      Answer/Response
                                                  Defendant's Answer to Plaintiffs' Second
 Filing Description
                                                  Amended Petition
 Reference Number                                 88461
 Comments
 Status                                           Accepted




https://efile.txcourts.gov/EnvelopeDetails.aspx?envelopeguid=688b6be9-dca9-46a9-b0f3-...     8/11/2015
Envelope Details                                                           Page 2 of 2
        Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 33 of 36


 Accepted Date                                    08/10/2015 11:13:43 AM
 Fees
 Court Fee                                        $0.00
 Service Fee                                      $0.00
 Documents
                                DESAI -
 Lead Document                                                             [Original] [Transmitted]
                                SF_Answ_to_Pl_s_2nd_Amend_Pet.pdf


 eService Details
                                                                                    Date/Time
 Name/Email                       Firm             Service Type     Status Served
                                                                                    Opened
 John Sheppard                Morrow &
                                                   EServe           Sent   Yes      Not Opened
 jsheppard@morrowsheppard.com Sheppard LLP
 Nicholas Morrow
                                                   EServe           Sent   Yes      Not Opened
 nmorrow@morrowsheppard.com




https://efile.txcourts.gov/EnvelopeDetails.aspx?envelopeguid=688b6be9-dca9-46a9-b0f3-...   8/11/2015
Web Inquiry                                                               Page 1 of 3
       Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 34 of 36



                                              .




                                                      9




                 :                                                                                                  .
                                                                                             2



                                                                                                 2
                                                                                                                )
                                                                                                                        .
      :                                   :
                                                                                                            )
                     F          F    ):                   ):



                                                                                       2             5
                                                                                                 2

                 Date               Commenced                                                            View
    Case      Cr
               t                              St
                                               atusNat
                                                     ure                      St
                                                                               yle
                 Opened             By                                                                    All
             4           06/23/2015 Pet
                                      it
                                       ion        O pen Cons
                                                           umer
                                                              /Commer
                                                                    cial
                                                                       /D ebtVARSH AD
                                                                             D ESAI etal.
1064068                                                                      VS. STATE      Par
                                                                                              ti
                                                                                               es
                                                                             F ARM LLO YD S
                                                                              INC

 Case      Fi
            leDat
                e              Event                               Comment
                                                                         s Pgs Document
                                                                               ID
1064068 06/23/2015            Cas
                                eIni
                                   ti
                                    ated- Pet
                                            it
                                             ion                               CCCL-2015-
                                                                            7
        09 : 19 AM                                                               213435
1064068 06/23/2015            Ci
                               vi
                                lCas
                                   eInf
                                      ormat
                                          ionSheet                             CCCL-2015-
                                                                            2
        11: 52 AM                                                                213449
1064068                       El
                               ect
                                 roni
                                    cF i
                                       l
                                       ingF ee                              0




http://www.cclerk.hctx.net/applications/websearch/Civil.aspx                               8/24/2015
Web Inquiry                                                               Page 2 of 3
       Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 35 of 36


 Case      Fi
            leDat
                e        Event                                  Comment   s Pgs Document
                                                                                ID
          06/24/2015                                           CERTIF IED
          11: 51 AM                                            MAILO NLY
1064068   06/24/2015    E-F i
                            l
                            ingCopi
                                  es
                                                                                 0
          11: 51 AM
1064068   06/24/2015    J ur
                           yF ee
                                                                                 0
          11: 52 AM
1064068   06/24/2015    Recei
                            pt# 1057014 gener
                                            atedf
                                                ort
                                                  he
                                                                                 0
          02: 46 PM     amountof$ 322.25
1064068   06/25/2015    Ci
                         tati
                            ontoBeIs sued                                            CCCL-2015-
                                                                                 1
          09 : 10 AM                                                                   216454
1064068   06/25/2015    El
                         ect
                           roni
                              cF i
                                 l
                                 ingF ee
                                                                                 0
          09 : 12 AM
1064068   06/25/2015    Cr
                         t4-O r
                              derf
                                 orTr
                                    ialSet
                                         ti
                                          ng-J ur
                                                y                                    CCCL-2015-
                                                                                 2
          12: 45 PM                                                                    215401
1064068   06/26/2015    Receipt
                              # 1057774 gener
                                            atedf ort
                                                    he
                                                                                 0
          01: 54 PM     amountof$ 6.00
1064068   06/29 /2015   Ori
                          ginalPeti
                                  ti
                                   onCitati
                                          on- D ISC            BY
                                                                                     CCCL-2015-
          01: 49 PM                                            CERTIF IED        2
                                                                                       219 010
                                                               MAIL
1064068 07/24/2015      Rul
                          e11                                                        CCCL-2015-
                                                                                 1
        09 : 58 AM                                                                     255135
1064068 07/24/2015      Ci
                         tat
                           ionRet
                                urned                          SERVED 07-
        03: 30 PM                                              02-15 BY
                                                               CERTIF IED
                                                                                     CCCL-2015-
                                                               MAIL              4
                                                                                       252453
                                                               APPEARANCE
                                                               D ATE 07-27-
                                                               15
1064068 07/27/2015      Receipt# 1065700 gener
                                             atedf  orthe
                                                                                 0
        02: 10 PM       amountof$ 2.00
1064068 07/28/2015      Crt4-O rderforTr
                                       ialSett
                                             ing-J ury                               CCCL-2015-
                                                                                 2
        11: 56 AM                                                                      255606
1064068 07/29 /2015     AmendedPet
                                 it
                                  ion                          PLAINTIF F 'S
        11: 36 AM                                              F IRST
                                                                AM END ED
                                                                PETITIO N,
                                                                                     CCCL-2015-
                                                                REQUEST          4
                                                                                       259 266
                                                                F OR
                                                                 D ISCLO SURE,
                                                                 AND J URY
                                                                 D EM AND
1064068 07/30/2015      Rec
                          eipt
                             # 1066738 gener
                                           atedf
                                               ort
                                                 he
                                                                                 0
        10: 29 AM       amountof$ 2.00
1064068 08/03/2015      Rec
                          eipt
                             # 1067854 gener
                                           atedf
                                               ort
                                                 he
                                                                                 0
        02: 39 PM       amountof$ 2.00
1064068                 Rul
                          e11                                                    1




http://www.cclerk.hctx.net/applications/websearch/Civil.aspx                              8/24/2015
Web Inquiry                                                               Page 3 of 3
       Case 4:15-cv-02435 Document 1 Filed in TXSD on 08/24/15 Page 36 of 36


 Case      Fi
            leDat
                e        Event                                   Comment   s Pgs Document
                                                                                 ID
        08/03/2015                                                               CCCL-2015-
        02: 49 PM                                                                  262851
1064068 08/04/2015      AmendedPet
                                 it
                                  ion                          PLAINTIF F 'S
        07: 56 AM                                              SECO ND
                                                               AM END ED
                                                               PETITIO N
                                                                                 CCCL-2015-
                                                               REQUEST        4
                                                                                   264883
                                                               F OR
                                                                D ISCLO SURE
                                                                AND J URY
                                                                D EM AND
1064068 08/04/2015      Rec
                          eipt
                             # 1068215 gener
                                           atedf
                                               ort
                                                 he
                                                                               0
        03: 39 PM       amountof$ 2.00
1064068 08/07/2015      Ans
                          wer                                  D EF END ANT
        01: 21 PM                                              STATE F ARM
                                                               LLO YD S
                                                               ANSW ER TO          CCCL-2015-
                                                                               5
                                                               PLAINTIF F S'         270546
                                                               SECO ND
                                                               AM END ED
                                                               PETITIO N
1064068 08/10/2015      Receipt# 1069 468 gener
                                              atedf  orthe
                                                                               0
        01: 03 PM       amountof$ 2.00
1064068 08/19 /2015     Crt4-O rderforTrialSett
                                              ing-J ury                            CCCL-2015-
                                                                               2
        11: 33 AM                                                                    281784




http://www.cclerk.hctx.net/applications/websearch/Civil.aspx                            8/24/2015
